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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND
                                  (Greenbelt Division)




Kilmar Armando Abrego Garcia, et al.,


Plaintiffs,
v.                                                    No. 8:25-cv-00951-PX
Kristi Noem, Secretary of Homeland
Security, et al.,
                                                      Declaration Of Acting Field Office Director
                                                      Robert L. Cerna
Defendants.


                          DECLARATION OF ROBERT L. CERNA


I, Robert L. Cerna, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as follows:

       1.      I am an Acting Field Office Director Enforcement and Removal Operations

(“ERO”) at U.S. Immigration and Customs Enforcement (“ICE”) within the U.S. Department of

Homeland Security (“DHS”).

       2.      As the (A)FOD of the Harlingen Field Office, I am responsible for, among other

things, the detention and enforcement operations of more than 350 employees, assigned to six

ERO Harlingen offices. ERO Harlingen encompasses fifteen South Texas counties and is

responsible for six detention facilities with a combined total of 3,790 detention beds.

       3.      I am aware that the instant lawsuit has been filed regarding the removal of Kilmer

Armado Abrego-Garcia (Abrego-Garcia) to El Salvador.
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       4.      I provide this declaration based on my personal knowledge, reasonable inquiry,

and information obtained from various records, systems, databases, other DHS employees, and

information portals maintained and relied upon by DHS in the regular course of business.

       5.      On March 15, 2025, President Trump announced the Proclamation Invocation of

the Alien Enemies Act Regarding the Invasion of The United States by Tren De Aragua.

       6.      On March 15, 2025, two planes carrying aliens being removed under the Alien

Enemies Act (“AEA”) and one carrying aliens with Title 8 removal orders departed the United

States for El Salvador. Abrego-Garcia, a native and citizen of El Salvador, was on the third flight

and thus had his removal order to El Salvador executed. This removal was an error.

       7.      On March 29, 2019, the Department of Homeland Security (DHS) served Abrego-

Garcia with a Notice to Appear, charging him as inadmissible pursuant to Section

1182(a)(6)(A)(i) of Title 8 of the United States Code, “as an alien present in the United States

without being admitted or paroled, or who arrived in the United States at any time or place other

than as designated by the [Secretary of Homeland Security].”

       8.      During the course of his proceedings, Abrego-Garcia remained in ICE custody

because the Immigration Judge (IJ) with the Executive Office for Immigration Review denied

Abrego-Garcia bond at a hearing on April 24, 2019, citing danger to the community because “the

evidence show[ed] that he is a verified member of [Mara Salvatrucha] (‘MS-13’)]” and therefore

posed a danger to the community. The IJ also determined that he was a flight risk. Abrego-Garcia

appealed, and the Board of Immigration Appeals upheld this bond decision in an opinion issued

on December 19, 2019, citing the danger Abrego-Garcia posed to the community.
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       9.      On October 10, 2019, an IJ ordered Abrego-Garcia’s removal from the United

States but granted withholding of removal to El Salvador pursuant to 8 U.S.C. § 1231(b)(3)(A).

This grant of protection prohibited his removal to El Salvador.

       10.     Following this grant of withholding of removal, Abrego-Garcia was released from

ICE custody.

       11.     On March 12, 2025, ICE Homeland Security Investigations arrested Abrego-

Garcia due to his prominent role in MS-13. Over the next two days, Abrego-Garcia was

transferred to the staging area for the removal flights discussed in Paragraph 6.

       12.     The operation that led to Abrego-Garcia’s removal to El Salvador was designed to

only include individuals with no impediments to removal. Generally, individuals were not placed

on the manifest until they were cleared for removal.

       13.     ICE was aware of this grant of withholding of removal at the time Abrego-

Garcia’s removal from the United States. Reference was made to this status on internal forms.

       14.     Abrego-Garcia was not on the initial manifest of the Title 8 flight to be removed

to El Salvador. Rather, he was an alternate. As others were removed from the flight for various

reasons, he moved up the list and was assigned to the flight. The manifest did not indicate that

Abrego-Garcia should not be removed.

       15.     Through administrative error, Abrego-Garcia was removed from the United States

to El Salvador. This was an oversight, and the removal was carried out in good faith based on the

existence of a final order of removal and Abrego-Garcia’s purported membership in MS-13.


I declare under penalty of perjury that the foregoing is true and correct.


Executed this 31st day of March 2025.
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                              ROBERT L Digitally signed by
                                       ROBERT L CERNA II

                              CERNA II Date: 2025.03.31
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                             ____________________________

                             Robert L. Cerna
                             Acting Field Office Director
                             Enforcement and Removal Operations
                             U.S. Immigration and Customs Enforcement
                             U.S. Department of Homeland Security
